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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FORT SMITH DIVISION
      UNITED STATES OF AMERICA                                      PLAINTIFF
           V.                Criminal No. 05-20044
      WHITE DAIRY ICE CREAM
      dba TRI-TEMP DISTRIBUTION                                     DEFENDANT

                                   O R D E R

           On this 28th day of October 2005, there comes on for
      consideration separate defendant’s, White Dairy Ice Cream, dba
      Tri-temp Distribution (“White Dairy”), Motion to Dismiss (Doc.
      15) and the government is objecting (Doc. 22).
           The court has reviewed the filings in this case.                  It
      appears that White Dairy was not named correctly in the
      Indictment.    The correct name of White Dairy is “White Dairy
      Ice Cream Co., Inc.”     Because this is a misnomer without any
      allegation that another entity has been misidentified or that
      White Dairy Ice Cream Co., Inc. has been prejudiced in not
      receiving notice or be unable to prepare a defense, the
      misnomer can be corrected by an amendment to the Indictment.
      See United States v. Fawcett, 115 F.2d 764 (3d. Cir. 1940)
      (holding that an amendment to indictment is permitted when
      change concerns matters of form rather than substance; name in
      indictment is matter of form); United States v. Denny, 165
      F.2d 668 (7th Cir. 1947) (holding that an amendment to correct
      a misnomer by an incorrect spelling of last name in indictment
      is permissible), cert. denied, 333 U.S. 844 (1948). Upon due
      consideration, the motion to dismiss the indictment is DENIED.
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           IT IS SO ORDERED.




                                         /S/ Robert T. Dawson
                                        Robert T. Dawson
                                        United States District Judge




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